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                                                                                 United States District Court
PROB 12A                                                                           Southern District of Texas
(06/15)
                                                                                      ENTERED
                          UNITED STATES DISTRICT COURT                                July 13, 2022
                                            for the                                Nathan Ochsner, Clerk


                           SOUTHERN DISTRICT OF TEXAS
             Report on Offender Under Supervision – No Court Action Required

 Name of Offender:     Melvin Gordon                      Case Number:          2:20CR01446-001

 Name of Sentencing Judge:        The Honorable Nelva Gonzales Ramos

 Date of Original Sentence:       August 24, 2021

 Original Offense:    21 U.S.C.§§ 841 (a)(1) and 841 (b)(1)(D) Possession with Intent to
                      Distribute 2.462 Kilograms of Marijuana

 Original Sentence:   15 months custody of the U.S. Bureau of Prisons, followed by a 3 year(s)
                      term of supervised release. Special conditions to include Substance Abuse
                      Treatment, Testing, and Abstinence and Special Assessment fee $100.

 Type of Supervision: Supervised Release              Supervision Started: December 29, 2021



                                  EARLIER COURT ACTION

May 25, 2022: The Court was notified in regard to testing positive for Cannabinoids usage on
or about April 20, 2022. The Court concurred with a higher volume of random urinalysis
testing.


                               NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

 Violation Number     Nature of Noncompliance

            1         Leaving the Judicial District without Permission
On or about June 8, 2022, Melvin Gordon violated Standard Condition #3 of supervision by
leaving the Southern District of Texas and subsequently traveling to Hope, Arkansas without
the permission of the Court or the probation officer, as evidenced by a traffic stop conducted on
June 8, 2022, for improper lane change.

             2        Law Violation - Possession and Use of a Controlled Substance
On or about June 10, 2022, Melvin Gordon possessed and used Cannabinoids, a
controlled substance not prescribed by a physician, as evidenced by a urine specimen submitted
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by him to USPO Rose, such specimen tested positive for Cannabinoids through laboratory
analysis. The possession alleged above is a violation of 21 U.S.C. § 844.

U.S. Probation Officer Action:
Mr. Gordon will continue to be administered a higher volume of random urinalysis testing. Mr.
Gordon is also participating in outpatient treatment. It is respectfully recommended the offender
continue supervised release as he has been admonished that further noncompliance could result
in revocation proceedings, and the Court has the right to address this violation at a later date.

It is respectfully recommended that no action be taken at this time and that jurisdiction in this
cause be transferred if the Court so concurs.

 Approved:                                            Respectfully submitted,

                                                By:

 Chrishele Powell, Supervising                        Andreveon B. Rose
 United States Probation Officer                      United States Probation Officer
                                                      June 30, 2022
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[ ]   Court Concurs with Recommended Action

[ ]   Submit a Request for Modifying the Conditions or Term of Supervision

[ ]   Submit a Request for Warrant or Summons

[ ]   Other:    ___________________________________




                                                            ReservedForJudgeSignature
                                                           ___________________________________
                                                            Nelva Gonzales Ramos
                                                            U. S. District Judge




                                                           July 13, 2022
                                                           ReservedForSignDate
                                                           ___________________________________
                                                                        Date
